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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC. by HEIDI WEBER,
   ROCKSTAR CHAMPIONSHIPS, LLC by
   DAVID OWENS, JEFF & CRAIG CHEER,
   LLC, d/b/a JEFF AND CRAIG CAMPS, by              CIVIL ACTION
   CRAIG HALLMARK, MARK LUKENS and                  FILE NUMBER:
   KATHLEEN LUKENS, and ASHLEY
   HAYGOOD, Individually and on Behalf of all       2:20-CV-02782-SHL-tmp
   Others Similarly Situated,

                              Plaintiffs,           MOTION TO COMPEL AND
   v.                                               MEMORANDUM IN SUPPORT

   VARSITY BRANDS, LLC, BSN SPORTS,
   LLC, VARSITY SPIRIT LLC, HERFF
   JONES, LLC, VARSITY BRANDS
   HOLDING CO., INC., VARSITY SPIRIT
   FASHION & SUPPLIES, LLC, U.S. ALL
   STAR FEDERATION, INC., USA
   FEDERATION FOR SPORT CHEERING,
   d/b/a USA CHEER, VARSITY INTROPA
   TOURS, LLC and JEFF WEBB,

                              Defendants.




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                                 I.      BACKGROUND STORY

         In the United States of America:

     It shall be unlawful for any person engaged in commerce, in the course of such commerce,
     to lease or make a sale or contract for sale of goods, . . . within the United States . . . or
     fix a price charged therefor, or discount from, or rebate upon, such price, on the condition,
     agreement, or understanding that the lessee or purchaser thereof shall not use or deal in the
     goods . . . of a competitor or competitors of the lessor or seller, where the effect of such .
     . . contract . . . may be to substantially lessen competition or tend to create a monopoly in
     any line of commerce.


  15 U.S.C. § 14. According to evidence finally coming to light from third parties, however, this is

  what Defendants do in American Schools:

         Indeed, evidence shows the Defendants go into American Schools. Then the Defendants

  make agreements to sell athletic equipment, graduation regalia, marching band and color guard

  paraphernalia by Nike, UnderArmour, and others. And the Defendants make those agreements on

  the condition that purchasers not deal in the goods of competitors, where the effect of such

  contracts may be to substantially lessen competition or tend to create a monopoly in lines of

  commerce. For example, excerpt 1 from Exhibit A:




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  Excerpt 2 From Exhibit A:




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  Excerpts from Exhibit B:




  Excerpt From Exhibit C:




         To get it right, the American Spirit Plaintiffs sued these Defendants because evidence like

  this shows they are the ones who both make and profit by these agreements. Indeed, evidence like

  this indicates the Defendants make these agreements in violation of the antitrust laws. Id.; 15

  U.S.C. § 14. That is dangerous because, according to the Department of Justice:

         “[such] business practices [] unreasonably deprive consumers
         of the benefits of competition, resulting in higher prices for
         products and services.”



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  Department of Justice, Antitrust Laws and You, https://www.justice.gov/atr/antitrust-laws-and-

  you, (last visited Nov. 1, 2022).

         In a case like this, we expect trial testimony to show the Defendants’ rule violations cause

  harm by tending to prevent other companies from distributing Nike, UnderArmour, and other

  goods involving American Schools at prices closer to wholesale prices. The result, according to

  the Department of Justice and evidence, is that American parents ultimately pay higher prices:

  Excerpt 1 from Ex. D:




  Excerpt 2 from Exhibit D:




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  Excerpt from Ex. E:




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  Indeed, with BSN’s “My Team Shop,” parents can purchase from BSN from an online shop that

  is branded like their child’s school. See BSN, My Team Shop Video, https://bsnteamsports.com/

  (last visited November 1, 2022).

           All of this is happening at a time when, according to the United States Congress Joint

  Economic Committee, inflation is already straining households. Exhibit F:




           Instead of violating the rule, what the Defendants should have done is made agreements

  without the condition that purchasers not use or deal in the goods of competitors. That would have

  helped by allowing other American companies to sell merchandise involving schools. And

  according to the Department of Justice, that would have helped by saving American parents

  money.


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         After receiving this lawsuit, the Defense answers these charges with many, many motions

  to dismiss the lawsuit on technical grounds. (See, e.g., ECF Nos. 92, 93, 94, 95, 171, 232, 234,

  235, 238, 263). For example, here is an excerpt from ECF No. 92:




  Similarly, the Defense repeatedly asks the Court to prevent the named Plaintiffs from seeking a

  verdict on behalf of not only themselves, but also on behalf of classes of people similarly situated.

  (See, e.g., ECF 91, 233). So far, the American Spirit Plaintiffs have responded to those motions.



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  (See, e.g., ECF No. 103, 104, 106). Nevertheless, the Defense has been somewhat successful.

  (See, e.g., ECF No. 194).

         Notably, the defense works to block information about the Defendants’ activities in

  schools.1 Indeed, since the beginning of this lawsuit the Defendants refuse to release information

  regarding their activities in schools. See, e.g., Req. for Prod. of Docs. to Def. BSN Sports. LLC

  attached as Ex. G. Simultaneously, the defense asks the Court to block the American Spirit

  Plaintiffs from getting those documents from other parties. For example, here is an excerpt from

  their March 12, 2021 motion, ECF No. 118:




  1
    The Defense has produced volumes of documents not related to their activities in schools or not
  related to marching band uniforms, graduation regalia and other scholastic merchandise. Indeed,
  from roughly September 2021 through May 2022, the defense shared documents with the
  American Spirit Plaintiffs that they also released in the Jones and Fusion cases which focus on
  cheerleading and possibly sexual misconduct outside of schools.


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  On March 29, 2021, after the Defense files its motion to block discovery—but even before

  receiving a Court order—the Defendants respond to multiple requests for documents as follows

  (attached in full as Exhibit H):




         Next, only after the Defendants already refused to release documents, the Court grants the

  protective order the Defendants asked for. Indeed, from ECF No. 132:




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  On October 28, 2021, the Court denies in part ECF No. 92, Varsity Brands Holding Company

  LLC’s motion to dismiss. Indeed, from ECF No. 141:




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  Thirty days afterwards, however, Varsity Brands Holding Company still does not release any

  documents they claimed to have withheld pursuant to the protective order. As justification, the

  Defense argues that discovery of activities in schools is blocked from June 1, 2021 until the Court

  denies each and every remaining Defendants’ motion to dismiss (which happens on March 30,

  2022). (ECF Nos. 177, 194, 236 at PageID 3541). Indeed, the American Spirit Plaintiffs move to

  compel production of these documents on February 9, 2022. (ECF No 167). But the Defense

  received the protection they sought. Indeed, here is an excerpt from ECF. No. 177:




         Moreover, even while the Defendants refuse to release documents related to their activities

  in schools, the Defendants receive an order blocking the American Spirit Plaintiffs from getting

  the information elsewhere via subpoena. For example, excerpts from ECF 177on March 1, 2022:




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  And another from ECF No. 177:




                                       13
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         On March 20, 2022, the Defendants receive an order granting in part and denying in part

  all remaining Defendants’ motions to dismiss (which were pending at the time of the June 1, 2021

  protective order). (Order Granting in Part and Denying in Part All Remaining Defendants’ Motion

  to Dismiss, ECF No. 194). Even 30 days after that, however, the Defendants still release no

  documents they withheld pursuant to the protective order.



         On May 13, 2022, the Defendants receive another order. This one allows discovery of the

  Defendant’s activities in American schools, but for only 6 months. (ECF No. 236 at PageID 3544).

  On August 24, 2022, the Defense receives another, abbreviated request to produce. (Exhibit I).

  This request to produce asks for relevant information in simple terms:




                                                 14
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         On September 23, 2022, however, the Defense again responds with lengthy objections, not

  responsive documents. (Exhibits J, K, L). For example, and excerpt from Exhibit J:




                                                15
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  Thus, the Defendants still refuse to produce documents they withheld pursuant to the expired

  protective order. Afterwards, the Defense does not release documents about their activities in

  schools despite follow up requests:




         In any case, if the full truth is allowed out, the American Spirit plaintiffs expect Court

  action could both force the Defendants to change their business practices and make up for the

  harms and losses the Defendants cause. (Amended Complaint, ECF No. 209).

         Again, the Department of Justice holds that exclusive dealing “unreasonably deprive[s]

  consumers of the benefits of competition, resulting in higher prices for products and services.”

  Thus, according to the Department of Justice, when the Defendants make these exclusive dealing

  agreements, they tend to unreasonably deprive consumers of the benefits of competition. The



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  result is higher prices. At trial, the American Spirit Plaintiffs intend to show as above that parents

  pay these higher prices. Indeed as showed above, in this case, Plaintiffs Ashley Haygood, Mark

  Lukens, and Kathleen Lukens say they are real live parents who paid these higher prices.

  Simultaneously, Plaintiffs American Spirit, Heidi Weber, Rockstar Championships, David Owens,

  Jeff & Craig Cheer, and Craig Hallmark—and people with companies like theirs—say they were

  unreasonably excluded from competition. (First Amended Complaint, ECF No. 209 at PageID

  3172-3174).

         Regarding the Defendant’s activities in American Schools, getting it right means three

  things: the American Spirit Plaintiffs hope to (1) fix what can be fixed; (2) help what can be helped;

  and (3) make up for what cannot be fixed or helped. Regarding the fixing of what can be fixed,

  the American Spirit Plaintiffs hope for a verdict that allows parents to receive reimbursement.

  Simultaneously, the American Spirit Plaintiffs hope for a verdict that allows compensation for

  competing American businesses. Regarding the helping what can be helped, the American Spirit

  Plaintiffs hope the Court orders the Defendants to stop making exclusive dealing agreements

  involving American schools. And to make-up for what cannot be fixed or helped—the profit

  motive for making such agreements—the American Spirit Plaintiffs ask for punitive damages as

  allowed by law. (See, First Amended Complaint, ECF No. 209 at PageID 3295).

         Indeed, before the Defendants made these agreements involving schools, the schools did

  not have exclusivity agreements that kept the schools from buying certain products from other

  businesses. After the Defendants made these agreements involving schools, however, the schools

  are bound by exclusivity agreements that kept the schools from buying certain products from other

  businesses. These business practices are what the American Spirit Plaintiffs hope to amend.




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         At this point in the case, three things would help. First, it would help if the Court would

  order the Defendants to actually produce any non-privileged documents they have withheld despite

  the attached request.     (Exhibit I). This request represents a narrowed set of requests the

  Defendants have avoided since just after the beginning of the lawsuit. (Compare Ex. I with Ex.

  G). Second, since history suggests the Defendants are not likely to release these documents, it

  would also help if the Court would allow the American Spirit Plaintiffs to continue to receive what

  they can from others. (See, e.g., October 7, Subpoena Requests distributed to more than 260

  schools across the United States attached as Ex. M; see also Exs. A, B, and C supra). Finally, it

  would help if the Court allowed the American Spirit Plaintiff’s expert 60 days from the actual

  production of these documents to incorporate the results into his report.



                                    III.    SUPPORTING LAW

         “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

  party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). “A

  party may serve on any other party a request within the scope of Rule 26(b).” Fed. R. Civ. P. 34(a).

     For each item or category, the response must either state that inspection and related
     activities will be permitted as requested or state with specificity the grounds for objecting
     to the request, including the reasons. The responding party may state that it will produce
     copies of documents or of electronically stored information instead of permitting
     inspection. The production must then be completed no later than the time for inspection
     specified in the request or another reasonable time specified in the response.

  Fed. R. Civ. P. 34(b)(2)(B). “An objection must state whether any responsive materials are being

  withheld on the basis of that objection. An objection to part of a request must specify the part and

  permit inspection of the rest.” Fed. R. Civ. P. 34(b)(2)(C).

         When parties fail to cooperate,




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       [the Sixth Circuit Court of Appeals] has determined that four factors are to be considered
       when reviewing a decision by a district court to impose sanctions under Rule 37.
       (hereinafter, the “Regional Refuse test”). The first factor is whether the party’s failure to
       cooperate in discovery is due to willfulness, bad faith, or fault; the second factor is whether
       the adversary was prejudiced by the party’s failure to cooperate in discovery; the third
       factor is whether the party was warned that failure to cooperate could lead to the sanction[.]
  Freeland v. Amigo, 103 F.3d 1271, 1277 (6th Cir. 1997) (internal citations omitted). The fourth

  factor relates to dismissals and need not be considered here. See, e.g., Holbrook v. Ownbrix Int’l

  Corp., No. 219CV02879JPMCGC, 2021 WL 783550, at *3 (W.D. Tenn. Mar. 1, 2021).



                                          IV.     DISCUSSION


  A.      Continued Refusal Will be Willful.


          In the Sixth Circuit, “willfulness” is defined as “a conscious and intentional failure to

  comply with the court order.” Bass v. Jostens, Inc., 71 F.3d 237, 241 (6th Cir. 1995). The burden

  is on the disobedient party “to show that the failure was due to inability and not to willfulness, bad

  faith, or fault.” Intercept Sec. Corp. v. Code-Alarm, Inc., 169 F.R.D. 318, 322 (E.D. Mich. 1996)

  (citing Reg’l Refuse, 842 F.2d at 154; Nat’l Hockey League v. Metro. Hockey Club, 427 U.S. 639,

  642–43 (1976)).

          In this case, it would be challenging for the Corporate Defendants to prove their failure to

  comply is due to inability and not willfulness. Indeed, could they truthfully claim inability to

  produce their agreements with schools? (Compare Ex. A with Excerpt from Ex. J, supra). Indeed,

  any statement that inability prevented the Corporate Defendants from producing any such

  documents will strain the limits of good faith.




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  B.     Failure to Cooperate Prejudices the
         American Spirit Plaintiffs.


         The prejudice prong is established where a failure to cooperate results in, among other

  things, increased difficulties in discovery. See, e.g., In re Fam. Resorts of Am., Inc., 972 F.2d 347

  (6th Cir. 1992) (“As far as the document requests are concerned, this is clearly correct, because

  the defendants never responded to these requests at all . . . . Clearly, such incomplete responses

  prejudice the [movant’s] ability to prepare its case and increase the difficulty of future discovery.”).

         In this case, the Corporate Defendants prejudiced the American Spirit Plaintiffs. Clearly,

  BSN’s, Varsity Brands LLC’s, Varsity Brands Holding Company’s, Stanbury’s and Herff Jones’s

  (all held by Varsity) refusal to produce any responsive documents whatsoever regarding their

  activities in American schools prejudiced the American Spirit Plaintiffs’ ability to prepare their

  case and increased the difficulty of future discovery. Id. Indeed, the American Spirit Plaintiffs

  have been unable to use responsive documents to identify deponents, conduct relevant questioning,

  and clarify contested matters. Such difficulty impedes both the discovery of the truth and the

  preparation of an illuminating trial.



  C.     The Court can Warn


         That is true. Holbrook v. Ownbrix Int’l Corp., No. 219CV02879JPMCGC, 2021 WL

  783550, at *4 (W.D. Tenn. Mar. 1, 2021) (“As to the third factor, the Court warned the Corporate

  Defendants, in abundantly clear terms, that sanctions would be levied if they failed to comply with

  the Court's discovery orders.”). Quite frankly, Judge Claxton’s (ECF No. 132) and Judge Pham’s

  (ECF No. 177) orders excerpted above should be enough warning already.




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                                      V.        CONCLUSION
        For the foregoing reasons, the American Spirit Plaintiffs move that the Court issue an order:

        (1)    Warning Varsity Brands Holding Co., Inc., Varsity Brands, LLC, Varsity Spirit,

               LLC, Varsity Spirit Fashion & Supplies, LLC., BSN, Herff Jones, and Stanbury to

               submit any withheld documents responsive to the outstanding requests in Exhibit I

               starting within 7 days with complete production due in 45 days or else the factual

               allegations pertaining to those Defendants will be deemed admitted as claimed in

               the Complaint;

        (2)    Allowing the parties to receive truthful information from non-parties up until and

               during the trial of this case;

        (3)    Allowing the American Spirit Plaintiff’s expert 60 days from the date the above-

               named Defendants complete actual production of these documents to incorporate

               the results into his report.

                                                       Respectfully submitted,

        This 1st day of November 2022.
                                                       s/ Robert A. Falanga
                                                       Robert A. Falanga, Esq.
                                                       Attorney Bar No. 254400
                                                       Interim Lead Class Counsel

                                                       s/ Kobelah Svensen Bennah
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